'
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               AO91(Rtv.ll/11) Cr'iminalComplaint                              .             '
                                                                                                                              sEAkEo
                                                                                                                              ''-
                                                                                                                                ' . '   ''



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'SEALED
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                                                  .
                                                                   UNITED SYATES  DISTMC'TCOURT
                                                                               jyrtjjy     '-
                                                                              SoulhcfùDistrictofFlcrida
                                             '
                                             bnitedStatesofAmerica                                                                                        '
                                                                                                                                                          .
                                                              V$
                                     AXELGIOVANY CASSEUS,
                                                                                                  casex... '
                                                                                                           w('(jpwS-'
                                                                                                                   ,xays;                     .




                                                          De
                                                           p ndqntls)

                                                                           CRIM INAL COM PLAIST
                             1,thecomplqinantinthiscase,state.
                                                             thatthefollowingistruetothebestofmy knowledgeàndbelief.
               Onorabéutthedatets)of MMrch1d,2012,andMarch11,2022 inthecountyof
                   4                                      .
                                                                                                                     -       .:r0War1             -
                                                                                                                                                          inthe
                   '

               '       Seqthim                    .
                                                      Districtof         Flcrida '       ,thedefendantls)violâted:
                        CodeSecdon                                                             / Op nseDezcrk
                                                                                                            //f/a
               21U.S.C.jj841(a)(1)and841(b)                               DistributionofaControl
                                                                                               lèdSubstance
               (1)(C),and18U.S.C.j2                                                        '




                             t'hiqqriminplcomplaintisbasid onthese facts:
               seeaitachedAmdavit.



                             d Cpntinuedontheattachedsheet.

                                                                                                               c   Complaçnant'
                                                                                                                              ssignature                      '

                                                                                                          DM TaskFnrceOffidérThomasMeflan
                                                                                                                     Prl
                                                                                                                       nted napl:and title                    '

               Attegted toby theapplicantinaccordancewith 1herequirementsof
                                     '

               Fel.R.Crim .P,4.1by..
                             .
                                         '
                                           FàceTime'-
                                                  .               -.                                           .                .
                                                                                                                                         ;'       , ..
                                             '

               Date: mjtY
                        -- '
                           o:v                        .
                                                                                                 .
                                                                                                                          . .
                                                                                                                         Judgeuspwlsg:
               city andstate:                                   FortLauderdale,Fltrida
                                                                                     .                    JaredrM.slrauss.U.$.Magistrate Judgey                   .
                                                                                                                     Printednameand dtle
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                          AFFIbAW T IN SUPPORT OF A CRIM INAL COM PLAINT
              Youraffiaht,Thom asM oylan,being dtlly sworn,deposes and states asfollow s:

                                                INTR ODU CTION
                      .
                          1am aTaskForceOfficerwiththeDrqgEnforcemenfAdminisiratidn(tçDEA'')and
       haveserved inthiscapacity sinceAugust2020.1lam currently assigned totheDEA M iamiField
       D ivis
            'iön, where lhavrbeen involved in investigationsinvblving narcùticstrafficking and money

       lauhdering.AsabEA Task FgrceOffiçer,lhaveparticipated intheexecution ofnumeroussearch
       andjeiztlrewarrants,resulting intheseizureofillegalcontroltedsubstances,packaging m atefials,
                                                                       .        .




       firearms,.andothertool'
                             softhedrugtrade.lalsoparticipatedindebriçfingsofnarcptiçstraftckèrs,
       cooperat1pg individuals,and sourcesofinformation.Through these debriefings,1have become
       familiarwiththeterminology,codewords,anhbraridnamesused by drugdealers.Inaddition,1
                                        '
                                    .



       havetestified befpregrandjuries,resultilig'infederalindictmehts.Iplsq haveexperience'
                                                                                           assijtihg
              .                                                  '
   '
   .   ininvestigationsthatinvplvemoney laundering,and internationaldrugtraffickingandconsjifacy.
              2.      Asa laW enforcementofficerwithinthe meaning ofTitle 18,United StatesCode,
                                '
                                            .



       qection2510(7),Iam empowered by'law toconductinvestigationsofand makearrestsfor,but
       notlim ited to,offenses'enum erated in Titles 18,21,and 46 ofthe Unitçd States Code.
                      '
                      1m ake this.A ffidavit iii qupport'of a crim ipalcom plaint chargipg AxelG iovany

       casseus w ith distribut'
                              ion ofa controlled substance, in violation ofTitle 21,United StatesCode,
   '

       Sections841(a)(.
                      1)and841(b)(1)(C)andTitle18,UnitedStatesCode,Section2.
                      l subm itthis'Affidavitbased on m y personalknowledgé,as wellas inform qtiûn
                  '                         '
        ...                                                                                                .

       provided to m e by ptherindividuals,including other law enforcem entofficials,and m y'review of



       1Ihavebeena1aw enforcementofficerforovereight(2)yearswithti
                                                                 ):FortLauderdalePoliceDepartment(FLPD).
                                                      1
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   records and otherevidenceobtained during the course ofthisinvestigation.Bec'
                                                                              ausethisAffidavit

    isbeingsubm ittedforthelinïitedpufposeofestablishing probablbcausefortherequejtedwarrantd
    itdoesnotinclude every factknown to m e aboutthism atter.

                                                        PRO BABLE CA USE

                                                        N arcoticsOverdose

                             OnoraboutMarch 10,2022,1aw enforcementrespondedtoaresidencelocaiedin
               ..              '   ..
                         .

    Wilton Manörs,Broskyrd County,Florida (the ûdW ilton Manors residence'') in reference to a
                                                                                    .

                                                                                              '
           .

   lhedicaleimergencyinFhich:
                            six(6)indikiduals,whowerevisitingtheareaforSpringBreak,were
                    ..                      7       .

   exhibiting symptomsofa narcoticsoverdose.M edikalpersonneladm inistered emergency âid ttj

   thevictimsandtranspörtedthem ionearb'
                                       yhospitals.Ofthévictifns,'twoofthem (Gtkictim 1''and
   (svictim'2'7hadtobèplacedonventilatorstoaid irîtheirrecovery.FortLauderdaleFireRescuè
                                                =
                                        .

   (F.
     LFR)HazardousMaterialsteam subsequently arrived on sceneand i-endered thescenesafe.
   W hile pn scéne,u
                   the H azardous M aterials team located suspect cbèaine and subm itted it for

   laboratory
            . analysis.A fprensic chem istlaterdeterm ined thatthe sam ples contained traces ofboth

   cocaine and fentanyl.

                                        Events Leading Up to M arch 10.2022.Em efzencv

                             0n M arch 9,2022,V ictim l and V ictim 2 m etan ipdividual- later îdentified as
                                                                                .




   AxelUiovany Casseus- on FörtLauderdaleBeach.During themeeting,Casseusadvised thathe
   sold cocaine.Casseus'subsequently providedtel
                                               ephonenum ber(954)860-6452to Victim 1,which
                                                        .




   Victim 1javed in hisphoneas(ûGeefortLauderdaler
                                                 plug.''
                             After receiving Casseuj' cellphone numàer,Victim 1 'and Cajbeus had the
   follbwinj'textmessagezxchange:'

                                                                2
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                                                                                  '
                                                -.-:
                                                   :;....               ...     . .



      TIV E                SENDER                          M ESSAGE
    3:52 PM               Victim'l Thistarri a2
    3:5)PV                Casseus ' ilk'an l otuwith thedeals                                                                           '
                              On M arch l0,2022,the nextday,Casseusand V ictim 1 exchanged the'follow ing

   ITICSSagCS:

      TIM E               SEND ER                                   M ESSA GE
    2:03 AM
          .               Casseus        send location im a ul1u r?l       '                                                             -
    2:03 AM               Victim '1       addrèsspfW ilton M anors residence                              .'           .
    2:04AM            ,   Uassdus        u heardthe rice1said ri 't                           .                        '
    2:05 AM   Victim 1                   Yea '                                 '                      '
    3:09 A M  Victim 1
                  .                       addressofW ilton M anors l
                                                                   z sidence                                           ''
    3:27 AM ' Victim 1                   You ullin u jtill                   ,                                              '
    3:28AM ' Casseus                      a'ustbou'
                                                  tto o rabn headin ourwa
    3:28 AM               césseus'
                          a              onl ood business           .            '                '                                     '
    3:38AM                Victim 1       1 ht                   '       '                 '
    5:40AV                Casseus        fgckljustpeepedlmissedumyfaultil1loo'koutnextt'imeucop
      '
                               .         sbuth beach w astoo litw the custos -                                     .
     10:26 AM .           V ictim 1      im alread knowin M iam iwas 'um in                                                     '
     10:27 A M            Casseus        shitw astoo turnt '         '        '                                            '        ''
     10:27AV              Casseus        Ideadbeen ontherôadtilltheam                                     '
    11:11A M              V ictim 1      Can u'slidethru now
    11:45 AM              Casseus          eah I otu stillneed a 8ballri ht                          '
    1l:45 AM              V ictim 1      Yea '                                            '
    l2:17 PM              Casseus        sam e lace ?im com in from dam n nearthesam çarealwaslastni ht
    12:19 PM              V ictim 1  .   Yea the lastaddress1sent
    12:19 PM              Casse'  us     ik im tellin '
                                                      u im com in from south beach
    12:20 PM              V ictim 1      1 htlm k when u close
    12:42 PM              Casséus        fasho                      .                                          .

    2:50 PM               Casseus'        15 ' .                     .             '         '
    2:50 PM               Casseus        the beach otta be litall'thijtraffic on the hi hw a
    2:51PM                V ictim 1      l htwe and the addressisent                   '
    2:51 PM               Casseus .      ik I'usttôld u im l5 m in.from there
    2:52 PM               V ictirii 1.   Bet         '
    2:52 PM               Casseus        how 1looked a ain fam.? Im ettoo m uch l esterda.
    2:53PV                Victim 1       Black 'ittwith waves               '         .
    3:17'PM               Casseus        i htfasho                                                        '        '
    3:32 PM .             Casseu's        rab 2         '           .                                                               ;



   2 TheaddresslistedonVicyim 1.
                               'sFloridaDriver'sLicenseisapproximatelytwenty (20)minutesàway from Tampa,
   Florida.                                '.                                         '   '                            '
                                                            3
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                                                                                  '
                                                                                  f -.'.                     ,



          3:33 PV                                   Victim l ' im outsidern wassu                                                                     '' '
          3t34 PM ,           .. '
                                               ' Casseus
                                               œ'             stoooi
                                                                  â ; nz
                                                                       %> t
                                                                       .
                                                                          o.droo
                                                                               1 t
                                                                                 his off on this n
                                                                                                 â erson rie
                                                                                                           Q#htbefore vo
                                                                                                                      #  ol
                                                                                                                         1 ace t
                                                                                                                               hek'
                                                                                                                                 V  ê..
                      '                              '         '
                              ,            .                -  .
                                                                rabbin 4 that'swh 1been q 1i1m inute Ihad to w ei h shit ''
                                                                   .

          ):35PM                                    Casseu; ' then il'habe atm last2 for ou rab botliifu can an' ''              '
          j:37 PM                                   Victim 1 I htbet '                                           '
          3:54 PM .. V ictim 1                           '
                                                                           Lm k whats ood ah
                                                                             '             '                         '
                                                                                                                             '            '
                                                                                                                                                           '
                                                                                                         .   .   .       .       .-   .       .   .    .   ..
          4:1)PM
          ,                           ..
                                                    Vicjim 1               How faroutareu                                                 .
          4:13PM                                    Casseus                lam stuck intl-affic1aintfgr                .                  '            .

          4:14 PV                                   Casseus  . .
                                                                           n Iwasn'tdriving gang ifIw as driving Iw oulda tlew to u', ion'like
                                                                            being on otheippltim eu gon see how fucked up ofthe lean thisnigga
                                                                            is rn                                                 ..
          4:16PM ..                                 Casseus                 Iwasdead 10m infrom uwhen Iwas .ivin wthem 1the4 .
          4:18 PM                                   Victim 1                Lm ao betthat an m daw str in to o outso 'ustlink wats ood
          4:19 PM                                   Casseus                  sendsscfèenshotfrom Goo le M a sofcurrentlocation
          4i19 PM                                   Casseus                 seethat ellow are thatsw here im stuck at
          4:20 PM    'Casseus                                               ön ninth ave                                           '.        .,
          4:20 PM     V ictim 1                                             Heard u                                       .. .                .
          4:30 PM   , Cass eus                                              2 m ins                                                             .
          4:32 PM ' Casseus                                                  sends hoto ra h from assen erside frontseatofvehicle
          4:32 PM     Casseus.                                             'be outside                         '
          4:33 PM     V ictim 1                                             Heard u                   '              .

          4:46 PM è Cassdus                                                 let lknow im tr nna cirw m face gn
                                                                                                                                                                '
                                  .   c:                       .

                          9.                        Eyewitnesses confirm ed that a red vehicle parked outside the W ilton M anors

      residençe.From that vehicle,a xblack m ale in his twenties, approxim ately 6'1'', skinny, with
  '
      dréadlocksandamustachéorgoatee,wearingblackskinnyjeansandashortsleeve'blackt-shirt
                                  .




      exited.This'description did notm atch Cajseus.Victim 1and V ictim 2 provided m oney totheblack .


      '
      malein exckangeforcdcaipe.Aftercompletingthetransaction,Victim 1andVictim 2brought
      thecocaineintotheWiltonM anorsresidenceandcutaportionofitintoseven(7)linesforthem
      andtheirfriendstöilngest.Eyewitnesstestimonyfurtheradvisedthqtoncethesix(6)iridividuals'
              .
                  '
                          .                '



      ingested the suspectcoéaine,they began tq show signs ofoverdosing.
                          .




                                                          -oximately 4:57p.m .,dispatch recelved the911callabouttheoverdose.
                                                    A tappl   .




                                                                                               4
                                                               'r                       '         '                                                                           '
                                 .                                                                                                                                                                  '       .
                                                                .                                                                                                                 .
                                                                                             .x                         . . .'.                                                                     '

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                                               '
                                                :                       '                             1
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                    '                                                                    '                          '                                                             '   '
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                                      .                                            ... . .-,. .
                                                          .                       (.. )...    :...             .                        .       .....
                                                                                                                                                    s                 .                         '               ,.
                                                                                                  UndercoverOperation' '
                                 )                                                                                                      '
                                          '


        .
                                              11e OnorJpboutM arch l1120225an undèycover(UC)cpntaçtedCasseusthroughth:
                                              .
                                                  '                     .
                                                                            ...                               . .                   '           .           '    .
                                                                                                                                                                  .                                                  .
                                                                        .7
                                                                         :

                                phôlle num berthatheprdvidedto V ictim 1on M àrch 9,2022.Through tektm essagesand recorded

                                phonecalls,thes
                                              uc arrangedtopurchase1(2eightballs''oficsoft''-streetslangforseven(7)grams
                                ofpöw dercocaine - frqm Casseus. Câsseus agreed to sellthe narcotics forone thousand.dollars
                                                                    .                        ..                                                                                                                      '

                            '
                                ($1,000.00).Later'thatday,theUC afrangedtoconductthecontrolled buy around 1800 South
                    '
                                FederalHighway in FortLauderdale,Florida.Thç UC imetw ith Casjéus,w ho wasin aw hiteTesla
                                                                                                  .


                            .                                                                                                                                    .                '

'                               with three(3)mqles.TheUC provided $1,000.00 in BSO OfficiallnvestigativeFunds(OlF)to
    '

                                Casseùjforapjroximaselyfogy-threean'deighttenths(43.8)gramsofàsubstancethatlaterGeldu                                                                                                '
                            tested positive forcocaihe. A fterthe controlled buy,1aw enforcem entm onitored the whiteTesla
                                                                                                      .




                                untittheyobserved CasseusexittheTeslailitheareaof2501NorthOcean Drive, Hollyw ood,
    .                           Florida.Afterexiting thq'vehiclç,1aw enforcementtook Casseus.irito'cusyody. Atthetif
                                                                                                                   me(
                                                                                                                     Jfflis
                            arre(
                                qtjC:sseushadapprpximatelysixhundreddollars($60000)on.
                                                                                     hispersonthatcontainedt'
                                                                                                            he                                      .



                            sàme serialnum bers asthe ones recorded from the'O 1F used forthè purchase. Casseus w asàlso'                                                                                                ,

                                                  ;                         '                             .
                        '
                            in possession ofacellphoneforthenum ber(954)860-6452 (seeparagraph 6).                                                                                          :
                                              1.2.            D uring a post-M iranda interview ,Casseus adm itted to selling the 43.8 gram s of

                            cocaine'to the UC.Casseusalso admitted to being in W ilton'M anqrson M arch 10'
                                                      .
                                                                                                          , 2022,w i
                                                                                                                   th a

                            ffiendhereferrqdtoaslûvontae.''.casseusclaimedthat6tvontae''sold.döcaine.
                                                                                                    totwo(2)peopl:
                            that ûtvontae'' m et on the Fort Lauderdale Beach the previous day. Cas:eus claim ed that he

                            (Casseus)didnotmakèanymoneyfröm thedealbutthat'lçvontae''madebetween four.hundred
                                              )               .                                                                                 .       '                 '               --'
                            gnd/vehundreddollars($400.00-$500.00)from thetransaction.Casseusfurtherstatedthathe
                                                               .




                            an d ûû
                                  vontàe''w entto theW ilton'M anorsresidence in a fedToyota Coiolla belbrtging to fdvontae.''

            ,
                                                                                                               j                                        '




    .           .           r '
                              . -.'..
                              )                                     .             ..              .,.                   -                           :           . .                                     '
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                                              .:''
                                                 r.
                                                  'tj,
                                                     ..
                                                     '           .
      Càjsdusdescribeditvontae''asablackmate,skinny,withdreadsandamustache-consistentwith
                     7                   '     .                                              .

      thedescriotion thatthe evew itnessorovided rseeoaraeraoh 9).Cassettsclaim ed.thatltv ontae''was

      the one using Casseus'.phdne to arrangç the transaction w ith the U C.H ow ever,w hen the '
                                                                                                UC

      rem inded'Casseus thatshe àpoke to him von the phpne,Casseus adm itted thathe did speak to the

      UC butclaimedthatdtvoniae''toldhim whattosay.Casseusclaimedthat(tvöntae''suppliedthe
                     .                                           .
                                                                                         '




      cocaine.afld allCajsrus did was add baking soda.Casseus claiméd that he only profited one

      hundred dollars($100.
                         .00)from thetransactionwiththeUC.3
                             Later in the interview ,Casseus changed his story and claim ed thatCGvontae''was

      notattlteFol4LatiderdaleBeach on M arch 9,2022.
                                                    ,rather,itwasCasseus,.itswizzy'',and $(Dre,''
      adding tha'
                tEûsw izzy''was'theone facilitating drug deals. Casseus stated thatdcsw izzy''m etw ith a

      group'ofpeople who were on Spring Break and wanted to purchase narcotics.Upon hearing this,

      Casseusstated thâthe rLelayed the requestto C'Vontae''.Casseudconfinmed thathe and wûtvontae''

      then went to the W iltolt M anors resideùce. Once they arriked, Casseus stated that Gdv ontae''

      conductçpthenarcoticsetransactionWithablackmalçandwhitema1e.4
              14.            Casseusconfirm èd thathisclosçstfriends knew him as ((G''- shortforG iovanny.

      ThisisconsistentwithVictim 1'sphoneentryofCûGeefortLauderdaleplug''(seeparagraph6).
                             During theinterview,1aw enforcem entshow ed aphotograph ofan ipdividualcalled

      Gcvontae''from thecellphonetoCasseus.Casseuspositively identified thatindividualasthesame

      (tvontae''l
                whd was with him when the narcotics transaction at the W ilton M angrs residence
                     '                                                                            .
         .                                                             .

  '
      hccurtect.Itshould benötedthatatthetinteofhisarrest,Casseuswaseqtiijped with acourt
      orderedelectronicmonitofingdevice(anklemonitor)'onunrelatedstatecharges.

      3 Thisisinconsistentw ith the $600.00 OlF found on hisperson atthetiine ofarmst.
      4 Victim 1 is'a black malb,whereàsVictim 2 isa white inale.
                 .                                          6
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                                        A dditionalInvestization

           16,    Léw enforcem ent obtained a search warrpnt for Cassegs's cell phone. After
                                                                                       .
    executing the search w arrqnt, 1aw enforcem ent identified the phone num ber for ;kVontae.j,
                                                                          .



                                            '
                          .
    Subscriberinform ation forthis:num berincluded the nam e ((Vont
                                                                ' ae.,N

                  Law éntorcementobtainedahistoricalcellsitewarrantandaprospectivecell-site
    warrant                   jhone..The data from these warrants,License Plate Reader (LPR)
    inform ation,an'
                   d Casseus's ankle m onitorrevealed the folloF ing occurred on M arch 10,2022:

           *' Casseusand çEvontae''were to/etheratVontae'sresidence.
           * Both dlvontae''and Casseus travelled in Vontae's red Toyota Corolla to the
              W ilton M anorsresidence,arriving atâpproximately 4:35p.m.
                                                  .

           *' Casseusandtlvonfae''wereattheresidenceforapproximatelyone(1)minute.
              before drivipg aw ay.
              Atappro'xim ptely 5:08 p.m .Casseusand tlvontae''arrived atthçAtlantic Hotel,
              lOcated qt 601.North Fo14 Lauderdale éeach Boulevard,
                                                                  'FortLauderdale,
              Florida. Surveillance footage revealed both Casseus and ûûv ontae'' exit
              VdntbesredToyotaCorollaandentertheàotel.                    f




                               (INTENTIONALLY LEFT BLANK)




                                                   7
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                                                co#cLUsI'
                                                        oN      .




            l8.    Basedupontheinfo% ationprovidrd'above,thpreisprdbablecauseto kelievethàt
     AxilGiovany Cassevscommitted disttibtitionofa cpntrolled substance,in violation ofTitle21,

     UnitedStatçsCode,Sections841(a)(l)and84l(b)(1)(C)andTitle l8,UnltedStatesCode,Section

                                       -
               ,


     FtiatllEkvolm AFFIANT SAV:TH NAUGHT.
                         ï'
                               .                                Rcslcctfblly submitted,



                                                                                          è
                                                                                          .          .
                                                                Thomas .M pylan,Task Férce O m cer
                                                                DrugEnforcementAdminiso tion

     Attestecitobyt
                  'heapplicantandiyalcordancewith1erequirementsofFed.R.Crim.P,4.lby
      f
      -*çe,-11W '..cnthis1.
                          S*'dayof .-
                              ..   .
                                    .y ,2022.
                                           ;'
                                                        .


                                                            .             .

                     ,   :




      ARED M.STRAUSS'
 '
     UNITED STATESMAGISTM UEJUDGE




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